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Law Office of Massey & Duffy, PLLC Mail - 052692 Austin Brown v. Lawn Enforcement Agency, et al., Case Number: 1)17-cv-305-MW-GRJ   7/26/18, 6)24 PM




                                                                                                  Michael Massey <massey@352law.com>



 052692 Austin Brown v. Lawn Enforcement Agency, et al., Case Number: 1:17-cv-
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 2 messages

 Koves, Juliette <jkoves@dsklawgroup.com>                                                                       Wed, May 30, 2018 at 10:27 AM
 To: "massey@352law.com" <massey@352law.com>


    Good Morning Mr. Massey,


    Please find attached a Proposal for Settlement/Offer of Judgment from each of
    my clients.


    Julie


     Juliette “Julie” Koves




                                                 Senior Associate




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